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  USCA11 Case: 21-14215 Document: 48-1 Date Filed: 12/16/2022 Page: 1 of 1


                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

 David J. Smith                                                                     For rules and forms visit
 Clerk of Court                                                                     www.ca11.uscourts.gov


                                       December 16, 2022

 Clerk - Middle District of Florida
 U.S. District Court
 401 W CENTRAL BLVD
 ORLANDO, FL 32801

 Appeal Number: 21-14215-AA
 Case Style: Zurich American Insurance Company v. Tavistock Restaurants Group, LLC
 District Court Docket No: 6:20-cv-01295-PGB-EJK

 A copy of this letter, and the judgment form if noted above, but not a copy of the court's
 decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
 was previously forwarded to counsel and pro se parties on the date it was issued.

 The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
 was previously provided on the date of issuance.

 Sincerely,

 DAVID J. SMITH, Clerk of Court

 Reply to: Lois Tunstall
 Phone #: (404) 335-6191

 Enclosure(s)
                                                                     MDT-1 Letter Issuing Mandate
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  USCA11 Case: 21-14215 Document: 48-2 Date Filed: 12/16/2022 Page: 1 of 2




                                           In the
                      United States Court of Appeals
                                 For the Eleventh Circuit
                                  ____________________

                                        No. 21-14215
                                  ____________________

            ZURICH AMERICAN INSURANCE COMPANY,
                                                    Plaintiff-Counter Defendant-
                                                                       Appellee,
            versus
            TAVISTOCK RESTAURANTS GROUP, LLC,


                                                 Defendant-Counter Claimant-
                                                                  Appellant.


                                  ____________________

                         Appeal from the United States District Court
                              for the Middle District of Florida
                          D.C. Docket No. 6:20-cv-01295-PGB-EJK
                                  ____________________




 ISSUED AS MANDATE: 12/16/2022
Case 6:20-cv-01295-PGB-EJK Document 127 Filed 12/16/22 Page 3 of 3 PageID 2876
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            2                                                            21-14215

                                         JUDGMENT
            It is hereby ordered, adjudged, and decreed that the opinion is-
            sued on this date in this appeal is entered as the judgment of this
            Court.
                                 Entered: November 17, 2022
                         For the Court: DAVID J. SMITH, Clerk of Court




 ISSUED AS MANDATE: 12/16/2022
